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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 George E. Norcross, III, Gregory B.      :
 Braca, and Philip A. Norcross,           :
                    Plaintiffs,           :
                                          :   CIVIL ACTION
             vs.                          :   NO. 22-cv-04953 (BMS)
                                          :
 Republic First Bancorp, Inc., Harry      :
 Madonna, Andrew B. Cohen, Lisa
 Jacobs, Harris Wildstein, Peter B.       :
 Bartholow, and Benjamin C. Duster,       :
 IV,                                      :
                                          :
                    Defendants.           :
                                          :
                                          :
                                          :
        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
           MOTION FOR PRELIMINARY INJUNCTION
      Plaintiffs George E. Norcross, III, Gregory B. Braca and Philip A. Norcross,

collectively and with a trust for which Mr. Philip Norcross serves as a trustee, own

approximately 9.9% of the issued and outstanding shares of defendant Republic First

Bancorp, Inc. (“Republic First” or the “Company”). Plaintiffs have been waging a

proxy contest with the Company since February 2022. As the Complaint details, the

Republic First board of directors (the “Board”)—composed of the individual

defendants Harry Madonna, Andrew B. Cohen, Lisa Jacobs, Harris Wildstein, Peter

B. Bartholow, and Benjamin C. Duster, IV (collectively, the “Director Defendants”

and with the Company, “Defendants”)—have engaged in unlawful and inequitable
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conduct to entrench themselves in office, thwart Plaintiffs’ proxy contest, and

preclude the Company’s shareholders, including Plaintiffs, from effectuating their

franchise rights to select the managers of their enterprise.

      Defendants’ misconduct in rigging the upcoming board election came to a

head in mid-November 2022. After failing to file its 2021 Form 10-K (due in March

2022) and delaying the 2022 annual meeting of shareholders (originally scheduled

for early May), on October 26, 2022, the Company finally filed its belated Form 10-

K. (See Complaint, ECF No. 1-1, at ¶ 15). On November 4, it announced that its

2022 annual shareholder meeting would take place on January 26, 2023, and set

November 14, 2022 as the deadline for shareholders to submit nominations for

candidates for the three board seats up for election at that meeting. (Id. ¶ 17). Then,

on November 7, 2022, Defendants announced that the Board eliminated two vacant

board seats, limiting Plaintiffs’ ability to field candidates for the upcoming board

election and shareholders’ ability to vote for directors at the 2022 annual meeting,

and mooting a special shareholder meeting request Plaintiffs had made to hold an

election to fill the two board vacancies. (Id. ¶ 19).

      Defendants were not done rigging the board election.            After Plaintiffs

nominated Mr. Braca—before the nomination deadline—Defendants rejected the

nomination on the purported grounds that Plaintiffs were not “record holders” of

Company stock, despite leading Plaintiffs to believe that they were record holders


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by accepting the same proof of record ownership three times before. (Id. ¶¶ 22, 117).

Defendants also waited until two days after the nomination deadline to reject the

nomination to preclude Plaintiffs from curing the purported deficiency. (Id. ¶ 22).

And, Plaintiffs realized after the fact, Defendants set the nomination deadline in bad

faith two days before Plaintiffs would have been eligible to nominate directors under

the bylaws’ incorporation of Rule 14a-8, allowing nominations by beneficial holders

of over $25,000 of stock after one year of ownership. (Id. ¶¶ 119–20).

      Based on Defendants’ manipulation of the board composition and nomination

process to thwart their proxy contest and violate shareholder voting rights, on

November 22, 2022, Plaintiffs filed suit in state court asserting exclusively state law

claims. (See Compl. ¶¶ 129–78; Declaration of Laura E. Krabill, Esq. attached to

Plaintiffs’ Motion for Expedited Remand (“Krabill Decl.”) ¶ 2). After trying

unsuccessfully to negotiate a resolution with Defendants, on December 5, 2022,

Plaintiffs filed a Motion for Preliminary Injunction (the “PI Motion”). (See Krabill

Decl. ¶ 3). A true and correct copy of Plaintiffs’ complete PI Motion package,

including the motion, Plaintiffs’ memorandum of law in support, declaration,

exhibits, and proposed orders are attached to the Krabill Decl. as Exhibits B–D. The

PI Motion sought an injunction to preclude Defendants from manipulating the

upcoming board election through their announced board reduction and rejection of

the nomination submitted by Plaintiffs, among other things. (PI Motion at 25).


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      Three days before the state court was set to hold a hearing on Plaintiffs’ PI

Motion, Defendants continued their manipulation of the election process by

removing the case to this Court. (See Krabill Decl. ¶ 17). The removal was improper

and the case should be remanded to the state court for lack of federal question

jurisdiction, as set forth in Plaintiffs’ Motion to Remand filed contemporaneously

herewith.

      Critically, as also detailed in Plaintiffs’ Motion to Remand, Defendants’

removal was a bad faith abuse of the judicial process without any legitimate grounds

to assert federal question jurisdiction, but with the specific intent to derail the state

court’s schedule. In response to Plaintiffs’ request to expedite briefing and a hearing

on the PI Motion (in which Plaintiffs described the urgency of obtaining a ruling on

the PI Motion to allow them to take the necessary steps to engage in an effective

proxy contest in advance of the 2022 annual shareholder meeting), the state court

judge (the Honorable Ramy I. Djerassi) set Defendants’ response date for the PI

Motion for December 14, 2022, and a hearing on December 16, 2022. (See Krabill

Decl. ¶ 12). Defendants pled for delay from the state court (and from Plaintiffs), but

the state court judge ruled that the dates would remain intact unless Defendants

delayed the 2022 annual shareholder meeting, scheduled for January 26, 2023, by at

least thirty (30) days. (Id. ¶¶ 13–15).




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      When Defendants’ delay tactics did not hold sway with the state court, they

took matters into their own hands. Despite having no good faith basis to believe that

this Court has jurisdiction over Plaintiffs’ state court action, Defendants filed a

Notice of Removal the evening before their response to the PI Motion was due,

overriding Judge Djerassi’s rulings and giving themselves the extension they had

sought unsuccessfully, but without meeting the condition imposed by the court. (Id.

¶ 17). By filing their Notice of Removal, Defendants immediately stripped the state

court of jurisdiction to proceed with the PI Motion and hearing. The state court,

recognizing its hands were tied, notified the parties within hours of receiving notice

of the removal that the December 16 hearing was cancelled. Defendants therefore

avoided their response date and the December 16 hearing by abusing the judicial

process and weaponizing the procedural mechanisms that provide litigants access

this Court.

      Defendants’ bad faith removal days before the PI Motion was scheduled to be

heard in the state court will necessarily delay the ultimate resolution of the PI

Motion. This Court may require some time to consider the Motion to Remand to

determine whether it has jurisdiction over this case at all, though Plaintiffs have

asked for expedited consideration.       If the Court determines it does not have

jurisdiction, Plaintiffs’ PI Motion will need to be briefed and heard in the state court.

Because Defendants were able to avoid the December 16 hearing date through their


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misconduct, with the holiday season around the corner, Plaintiffs’ PI Motion may

well not be heard and decided until the 2022 annual shareholder meeting is imminent

(or even past). As Plaintiffs explained in seeking expedition from the state court,

limiting Plaintiffs’ time to engage in a proxy contest will severely hamper their

ability to successfully contest the election.

      In particular, early resolution of the PI Motion is essential because, if Plaintiffs

prevail, the Company will need to reopen nominations to allow shareholders to

nominate director candidates for at least one of the director seats the Board sought

to eliminate. If Defendants must accept Plaintiffs’ nomination, Plaintiffs will also

need time in advance of the meeting to send proxy materials to and solicit votes from

their fellow shareholders in favor of their candidate (and potentially other director

candidates nominated by Plaintiffs or by other Company shareholders). Plaintiffs’

proxy solicitation firm and counsel estimate that the timing to engage in a

meaningful proxy fight is at least four to five weeks, including the following tasks:




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                         Action                                     Timing
 Preparation and Filing of Preliminary Proxy               1 week
 Statement
 SEC Comment Period                                        10 calendar days
 Responding to any SEC comments                            1 week
 Filing Definitive Proxy Statement                         Typically 2–3 weeks
                                                           after preliminary
                                                           proxy
 Printing proxy statement                                  1 business day
 Mailing proxy statement to shareholders                   Up to 5 business days
 Direct Engagement with Proxy Advisors (ISS and            4 weeks
 Glass Lewis) and institutional shareholders, and
 follow-up with retail shareholders (including
 offering additional voting opportunities)

      If this Court determines it has jurisdiction (which it should not), Plaintiffs

reiterate their PI Motion here and incorporate the motion, memorandum, declaration,

exhibits and proposed orders, by reference as though fully set forth herein. See

Krabill Decl., Exhibits B–D. Plaintiffs again seek expedited briefing and a hearing

in this Court on the PI Motion.

      Even if this Court determines to hear the PI Motion and does so on an

expedited schedule, Defendants’ gamesmanship in removing only when their

response was due in the state court will delay the ultimate resolution of Plaintiffs’ PI

Motion as this Court considers the Motion to Remand and the PI Motion, essentially

destroying Plaintiffs’ ability to wage a successful proxy contest given the timing

required to do so effectively. Plaintiffs cannot be allowed to run out the clock by a

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series of improper delaying tactics centering on counsel’s unavailability and

improper removal. In essence, Defendants’ bad faith manipulation of the legal

system will allow them to get away with their bad faith manipulation of the board

election. Even if Plaintiffs ultimately prevail on the merits of their PI Motion,

Defendants will have won the war by fundamentally eliminating the time Plaintiffs

can actively solicit proxies from their fellow shareholders to prevail in the board

election. Elections of all sorts must be conducted fairly, not subject to time

constraints that the incumbent manipulates in its favor.

      Accordingly, in addition to the relief requested in Plaintiffs’ PI Motion, to

allow this Court sufficient time to consider the Motion to Remand and for either this

Court or the state court to hear and decide the PI Motion, Plaintiffs respectfully

request that this Court enter an interim order prohibiting Defendants from holding

the 2022 annual shareholder meeting until at least sixty (60) days after either this

Court or the state court rules on the PI Motion, to preserve the status quo. This relief

is particularly appropriate here, where Defendants have abused the litigation process

to obtain an underhanded tactical advantage at an annual meeting. See Strategic

Turnaround Equity Partners, L.P. v. Fife, No. 10-cv-11305, 2010 U.S. Dist. LEXIS

63629, at *32–35 (E.D. Mich. June 28, 2010) (striking motion to dismiss and

counterclaims filed in bad faith, after the close of business, four days before an

annual meeting); Gordon Props., LLC v. First Owners Ass’n of Forty Six Hundred


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(In re Gordon Props., LLC), 460 B.R. 681, 699–700 (E.D. Va. 2011) (imposing

monetary sanction on directors who attempted to cancel annual meeting, with the

opportunity to avoid sanction if the meeting is held as scheduled); QRK v.

Kenilworth Court Residents Ass’n, No. CI-16-04989, 2017 Pa. Dist. & Cnty. Dec.

LEXIS 7378, at *82–85 (Lancaster Cty. C.P. Oct. 25, 2017) (removing director from

corporation board as a sanction for improperly suspending member’s voting rights

before an annual meeting, when “his persistent pattern of conduct regarding annual

and special meetings has been to act in bad faith”).




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Dated: December 19, 2022           Respectfully submitted,

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